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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                            CASE NO. 20-60416-CIV-CANNON/Hunt

  TOCMAIL INC,

         Plaintiff,
  v.

  MICROSOFT CORPORATION,

        Microsoft.
  ________________________________/

                           ORDER RESETTING TRIAL DEADLINES

         THIS CAUSE comes before the Court upon the parties’ Joint Motion for Status

  Conference [ECF No. 106], filed on August 6, 2021. The Court hereby DENIES WITHOUT

  PREJUDICE the Motion and resets the following deadlines in the manner set forth below:

                                                     ***

         Trial in this matter is hereby reset for the Court’s two-week trial calendar beginning on

  December 20, 2021 at 9:00 a.m. 1 Counsel for all parties shall appear at a calendar call at 1:45

  p.m. on Tuesday, December 14, 2021. No pretrial conference will be held unless a party requests

  one at a later date and the Court determines that one is necessary. Any such request for a pre-trial

  conference must be made at least 30 days prior to the date of the calendar call. Unless instructed

  otherwise by subsequent order, the trial and all other proceedings in this case shall be conducted

  at the Alto Lee Adams, Sr. United States Courthouse, 101 South U.S. Highway 1, Courtroom 4008,

  Fort Pierce, Florida 34950. The parties shall adhere to the following pre-trial deadlines:

         Deadline Expired. The parties shall file all motions to amend pleadings or to join parties.



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   This Order supersedes all deadlines referenced herein but all other instructions in prior Second
  Amended Scheduling Order [ECF No. 61] shall remain intact.
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        Deadline Expired. The parties shall select a mediator pursuant to Local Rule 16.2, shall
        schedule a time, date and place for mediation, and shall jointly file on CM/ECF a notice
        scheduling mediation along with an attached proposed order in the form specified on
        the Court’s website, http://www.flsd.uscourts.gov. The joint notice and proposed order
        must identify the name of the selected mediator and the date, time, and place for mediation.

        Deadline Expired. The parties shall exchange expert witness summaries or reports.

        Deadline Expired. The parties shall exchange rebuttal expert witness summaries or
        reports.

        Deadline Expired. The parties shall complete and exchange all discovery, including
        expert discovery.

        Deadline Expired. The parties must have completed mediation and filed a mediation
        report. The mediation report shall indicate whether the case settled (in full or in part),
        whether it was adjourned, or whether the mediator declared an impasse. If mediation is
        not conducted, the case may be stricken from the trial calendar, and other sanctions may
        be imposed.

        Deadline Expired. The parties shall file all pre-trial motions, including motions for
        summary judgment, and Daubert motions. Each party is limited to filing one Daubert
        motion. If a party cannot address all evidentiary issues in a 20-page memorandum, it must
        petition the Court for leave to include additional pages. The parties are reminded that
        Daubert motions must contain the Local Rule 7.1(a)(3) certification. The parties are
        directed to review the Court’s procedure for the filing of summary judgment motions
        (set out below).

        November 23, 2021. The parties shall submit a joint pre-trial stipulation, exhibit lists,
        witness lists, deposition designations, and proposed jury instructions and verdict form or
        proposed findings of fact and conclusions of law, as applicable, and shall file any motions
        in limine (other than Daubert motions). Each party is limited to filing one motion in
        limine, which may not, without leave of Court, exceed the page limits allowed by the Rules.
        The parties are reminded that motions in limine must contain the Local Rule 7.1(a)(3)
        certification. Each issue raised in a motion in limine must be numbered and must
        specifically identify the evidence sought to be excluded or included at trial, with citations
        to legal authority supporting the evidentiary ruling requested.

        DONE AND ORDERED in Fort Pierce, Florida, this 9th day of August 2021.




                                                      _________________________________
                                                      AILEEN M. CANNON
                                                      UNITED STATES DISTRICT JUDGE
  cc:   counsel of record

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